                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     SOUTHERN DIVISION
                                         7:23-CV-897


 INRE:                                                       )
                                                             )        NOTICE REGARDING POSSIBLE
 CAMP LEJEUNE WATER LITIGATION                               )           AMENDMENTS TO CASE
                                                             )         MANAGEMENT ORDER NO. 14
 This document applies to:                                   )
 ALL CASES                                                   )


         The government responded to the court's order and notice [D.E. 281] that it was considering

various amendments to Case Management Order ("CMO") No. 14 by itself filing a notice [D.E.

286]. 1 The government's notice asserts that it had entered into an agreement with the Settlement

Masters regarding information provided them by the government and that "[g]iven the agreement,

the United States does not believe that amendments to Case Management Order No. 14 are

necessary." Gov.'s Notice [D.E. 286] 1. The court has subsequently obtained from the Settlement

Masters a copy of the agreement to which the government refers in its notice, entitled "Memorandum

ofUnderstanding ['MOU']."

         In its discretion, the court is deferring further action on amendment ofCMO No. 14 pending

its evaluation of whether or not the MOU is applied in a manner consistent with the expeditious and

efficient conduct of settlement proceedings, including specifically without undue delay or undue

restrictions on the handling of information.

         This 3rd day of October 2024.


                                                        J ~
                                                        United States Magistrate Judge
1
  In its notice, the government refers to the court's order and notice, signed by the undersigned, as "the Magistrate Judge's
Order." Gov.'s Notice [D.E. 286] 1. While the reason for this characterization of the order and notice is not apparent,
in the event any misunderstanding exists, the decision on any amendment of CMO No. 14 and the nature of any
proceedings relating to that issue rests with the District Judges, who approved both the prior order and notice [D.E. 281]
and this notice.


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